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    8
    9                          UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
   11                                 WESTERN DIVISION
   12
   13 ESC-TOY LTD., a Nevada corporation,          Case No. 2:21-CV-02139-JVS-GJS
   14                 Plaintiff,                   DEFENDANT INSOMNIAC
                                                   GAMES, INC’S RESPONSE TO
   15        v.                                    FOLEY & LARDNER’S REQUEST
                                                   TO WITHDRAW DKT. NO. 156
   16 INSOMNIAC GAMES, INC., a
      California corporation,
   17                                              The Hon. James V. Selna
                   Defendant.
   18                                              Complaint filed: 03/09/2021
                                                   FAC: 08/02/2021
   19                                              SAC: 10/08/2021
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                  DEFENDANT INSOMNIAC GAMES, INC’S RESPONSE TO REQUEST TO WITHDRAW;
                                    CASE NO. 2:21-CV-02139-JVS-GJS
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    1         Plaintiff ESC Toys Ltd.’s (“ESC”) attorneys at the law firm Foley & Lardner
    2 have requested this Court’s permission to withdraw as counsel of record. Dkt. No.
    3 156. Defendant Insomniac Games, Inc. (“Insomniac”) does not oppose the
    4 withdrawal, but respectfully requests that this Court place certain conditions on
    5 withdrawal to ensure that Insomniac will not suffer prejudice.
    6         Insomniac requested during meet and confer that Foley & Lardner agree that
    7 (1) it would abide by this Court’s sealing orders; (2) agree to maintain the
    8 confidentiality of Insomniac’s information and (3) that this Court would retain
    9 ancillary jurisdiction over the Foley & Lardner attorneys for purposes of fees, costs
   10 and any other appropriate remedies. These conditions are necessary to protect
   11 Insomniac because (1) these specific Foley & Lardner attorneys filed a predecessor
   12 case to this action first in the United States District Court for the District of Nevada
   13 while at the law firm Maschoff Brennan and filed the present action in this Court
   14 before leaving for Foley & Lardner and continuing to litigate the case; and (2) these
   15 attorneys also participated in mediation of this matter and have had access to
   16 Insomniac’s confidential information without the benefit of a protective order. As
   17 part of its representation at the mediation, Insomniac and the Foley & Lardner
   18 attorneys stipulated to a confidentiality agreement as counsel for ESC. Prior to
   19 filing its request, Foley & Lardner agreed in principle during meet and confer that
   20 the Court could condition its withdrawal on retaining ancillary jurisdiction for the
   21 remainder of the case for the purposes of any motion(s) brought by Insomniac for
   22 fees, costs, or other appropriate remedies or sanctions.
   23         Whether to permit attorney withdrawal is left to the sound discretion of this
   24 Court. Thanh v. Tran, No. SACV1700953JVSKESX, 2019 WL 4565179, at *1
   25 (C.D. Cal. Feb. 27, 2019). And courts in this District routinely place conditions on
   26 attorney withdrawal, including the retention of ancillary jurisdiction. See, e.g., Laux
   27 v. Mentor Worldwide LLC, No. 216CV01026ODWAGRX, 2017 WL 11448353, at
   28 *2 (C.D. Cal. Mar. 2, 2017) (“The Ninth Circuit has held that the district court may
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                DEFENDANT INSOMNIAC GAMES, INC’S RESPONSE TO REQUEST TO WITHDRAW;
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    1 retain jurisdiction over a withdrawing attorney to adjudicate a Rule 11 motion.”)
    2 (citing Holgate v. Baldwin, 425 F.3d 671, 677 (9th Cir. 2005)); see also Dolores
    3 Press, Inc. v. Robinson, No. CV1502562PAPLAX, 2020 WL 6536300, at *2 (C.D.
    4 Cal. June 25, 2020). Further, “‘[a]ll federal courts are vested with inherent powers
    5 enabling them to manage their cases and courtrooms effectively and to ensure
    6 obedience to their orders.’” United States v. Kinetic Concepts, Inc., No.
    7 CV0801885BROAGRX, 2017 WL 8948062, at *4 (C.D. Cal. Aug. 21, 2017)
    8 (quoting F.J. Hanshaw Enters., Inc. v. Emerald River Dev., Inc., 244 F.3d 1128,
    9 1136 (9th Cir. 2001)).
   10        In view of Foley & Lardner’s prior representation that they did not oppose
   11 remaining subject to this Court’s jurisdiction and to avoid undue prejudice to
   12 Defendant, Insomniac requests that Foley & Lardner’s withdrawal be conditioned
   13 upon this Court’s express retention of ancillary jurisdiction over each of the
   14 withdrawing attorneys for the purposes of any motion(s) brought by Insomniac for
   15 fees, costs, and/or other appropriate remedies or sanctions, compliance with this
   16 Court’s sealing orders (Dkt. Nos. 15, 27, 38, 53, 62, 69, 74, 85, 88, 97, 104, 110,
   17 116, 124, 129, 135, 139, 143, and 150), and the Nevada Court’s sealing order (ESC
   18 Toy Ltd. v. Sony Interactive Entertainment LLC and Insomniac Games, Inc., Case
   19 No. 2:20-cv-00726-GMN-VC (D. Nev.) Dkt. No. 70). The Foley & Lardner
   20 attorneys should also maintain any Insomniac information it has had access to, as a
   21 result of its representation of ESC, as confidential and deemed subject to the terms
   22 of the parties’ October 5, 2020 confidentiality agreement for settlement discussions
   23 and the September 21, 2021 Judicate West mediation agreement, which shall
   24 survive termination of this Action.
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                DEFENDANT INSOMNIAC GAMES, INC’S RESPONSE TO REQUEST TO WITHDRAW;
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    1 Dated: April 6, 2022                    Respectfully submitted,
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                                              RIMON, P.C.
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    4                                    By: /s/ Karineh Khachatourian
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    6                                        Nikolaus A. Woloszczuk
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                                 CASE NO. 2:21-CV-02139-JVS-GJS
